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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
ALAN M. SCHWARTZ ,
     Plaintiff,
                                          CASE NO.: 8:17-cv-00766-CEH-MAP
vs.

CAPIO PARTNERS, LLC,
       Defendant(s).
___________________________               /

                      PLAINTIFF’S NOTICE OF PENDING SETTLEMENT

        COMES NOW Plaintiff, by and through the undersigned counsel and pursuant to Local Rule 3.05, and
hereby notifies the Court and parties have settlement reached a resolution in this case, and to request 30 days in
which to file the a voluntary or stipulated dismissal as the case may be on good cause shown, to reopen the
case for further proceedings.

Date: October 12, 2017

s/ Scott Stamatakis
Scott Stamatakis
Florida Bar No.: 178454
Trial Attorney for Plaintiff
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                                    CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on October 12, 2017, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being served this
day on all counsel either via transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.
                                          s/ Scott Stamatakis
                                          Scott Stamatakis
                                          Florida Bar No.: 178454
                                          Trial Attorney for Plaintiff
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